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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on January 8, 2021
UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-044 (CJN)

v.
: VIOLATIONS:
DANIEL DINK PHIPPS > 18 U.S.C. § 111(a)(1)
:  (Assaulting, Resisting, or Impeding
Defendant. : Certain Officers and Physical Contact)
> 18 U.S.C. § 231(a)(3)
(Civil Disorder)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
:  (Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), and any person assisting such an officer and

employee, while such officer or employee was engaged in or on account of the performance of
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official duties, that is, Officer A.C., an officer from the Metropolitan Police Department, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Physical Contact, in
violation of Title 18, United States Code, Sections 11 1(a)(1))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, Officer A.C., an officer from the Metropolitan Police Department,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected
the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
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COUNT FOUR

On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, DANIEL DINK PHIPPS,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
